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                        UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF TEXAS

                               HOUSTON DIVISION


In re PLAINS ALL AMERICAN PIPELINE, § Lead Case No. 4:15-cv-02404
L.P. SECURITIES LITIGATION          §
                                    § CLASS ACTION
                                    §
This Document Relates To:           § Judge Lee H. Rosenthal
                                    §
        ALL ACTIONS.                §
                                    §




                 STIPULATION OF DISMISSAL OF ING BANK N.V.




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        Plaintiffs filed a Consolidated Amended Complaint on January 29, 2016 (Dkt. No. 70)

naming ING Bank N.V. as a defendant in this action. The Consolidated Amended Complaint

identified ING Bank N.V. as an underwriter of the April 2014 Notes Offering and the December

2014 Notes Offerings, as defined in the Consolidated Amended Complaint, for purposes of §§11 and

12(a)(2) of the Securities Act of 1933. ING Bank N.V. was identified in the offering documents as

an underwriter for the April 2014 Notes Offering. However, defendant ING Bank N.V. represents

and warrants that it was identified erroneously as an underwriter for the April 2014 Notes Offering.

ING Bank N.V. further represents and warrants that it did not transact in the notes offered as part of

the April 2014 Notes Offering or the December 2014 Notes Offerings and did not conduct due

diligence as part of either of those offerings. ING Financial Markets LLC represents and warrants

that it, not ING Bank N.V., was the ING entity that served as an underwriter of the April 2014 Notes

Offering and the December 2014 Notes Offerings. To date, ING Bank N.V. has not yet been served

or appeared in this action.

        THEREFORE, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and

based on the foregoing representations and warranties, plaintiffs and ING Bank N.V. stipulate to the

dismissal of all claims against ING Bank N.V. without an award of costs or fees.

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                                              DARRYL J. ALVARADO
                                              ASHLEY M. PRICE
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DATED: April 27, 2016               SIDLEY AUSTIN LLP
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 27, 2016, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on April 27, 2016.

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